                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

 UNITED STATES OF AMERICA                      *
                                               *
        v.                                     *    CRIMINAL NO. GJH-19-96
                                               *
 CHRISTOPHER PAUL HASSON,                      *
                                               *
                Defendant                      *
                                               *
                                           ********

              GOVERNMENT’S REDACTED SENTENCING MATERIALS

       The Government previously filed certain sentencing materials under seal, and informed the

Court that the Government anticipated being able to file redacted versions of the materials on the

public docket prior to sentencing. See ECF Nos. 105, 108, 111. Attached hereto are certain

redacted sentencing materials, including: (1) the Government’s Response to Defense Sentencing

Memorandum; (2) Exhibits 1 through 49; and (3) the Government’s Response to Defense

Response to Government Sentencing Memorandum.



                                                    Respectfully submitted,

                                                    Robert K. Hur
                                                    United States Attorney

                                                    /s/
                                                    Thomas P. Windom
                                                    Assistant United States Attorney
